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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

x
In re Chapter 11
Nortel Networks Inc., et al.,' : Case No. 09-10138 (KG)
Debtors. Jointly Administered
Hearing date: March 5, 2009 at 10:00 a.m. (E.T.)
Objections due: Feb. 26, 2009 at 4:00 p.m. (E.T.)

NOTICE OF APPLICATION OF THE DEBTORS PURSUANT TO 11 U.S.C. § 327(e)
TO RETAIN AND EMPLOY JACKSON LEWIS LLP AS COUNSEL
FOR THE DEBTORS NUNC PRO TUNC_TO JANUARY 14, 2009

PLEASE TAKE NOTICE that the above-captioned debtors and debtors-in-
possession (collectively, the “Debtors”) in the above-captioned cases, have today filed and served
the attached Application Of The Debtors Pursuant To 11 U.S.C. § 327(e) To Retain And
Employ Jackson Lewis LLP As Counsel For The Debtors Nunc Pro Tunc To January 14,
2009 (the “Application’’).

PLEASE TAKE FURTHER NOTICE that any party wishing to oppose the entry
of an order approving the Application must file a response or objection (“Objection”) if any, to
the Application with the Clerk of the United States Bankruptcy Court for the District of
Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801 on or before February
26, 2009 at 4:00 p.m. (Eastern Time) (the “Objection Deadline’).

At the same time, you must serve such Objection on proposed counsel for the
Debtors so as to be received by the Objection Deadline:

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification
number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Alteon
WebSystems, Inc. (9769), Alteon WebSystems International, Inc. (5596), Xros, Inc. (4181), Sonoma
Systems (2073), Qtera Corporation (0251), CoreTek, Inc. (5722), Nortel Networks Applications
Management Solutions Inc. (2846), Nortel Networks Optical Components Inc. (3545), Nortel Networks
HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel Networks International Inc.
(0358), Northern Telecom International Inc. (6286) and Nortel Networks Cable Solutions Inc. (0567).
Addresses for the Debtors can be found in the Debtors’ petitions, which are available at
http://chapter11.epiqsystems.com/nortel.
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PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE
APPLICATION WILL BE HELD ON MARCH 5, 2009 AT 10:00 A.M., BEFORE THE
HONORABLE KEVIN GROSS AT THE UNITED STATES BANKRUPTCY COURT FOR
THE DISTRICT OF DELAWARE, 824 MARKET STREET, 6TH FLOOR, COURTROOM #3,
WILMINGTON, DELAWARE 19801. ONLY PARTIES WHO HAVE FILED A TIMELY
OBJECTION WILL BE HEARD AT THE HEARING.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE APPLICATION WITHOUT
FURTHER NOTICE OR HEARING.

Dated: February 13, 2009 CLEARY GOTTLIEB STEEN & HAMILTON LLP
Wilmington, Delaware
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Lisa M. Schweitzer
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- and -

MORRIS, NICHOLS, ARSHT & TUNNELL LLP

Mh >. Bf

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Counsel for the Debtors
and Debtors in Possession

2730961.1
